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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA : Crim. No. 21-524 (JHR)
& : Hon. Joseph H. Rodriguez
SCHEDULING ORDER

JOHN GRIER, III

This matter having come before the Court on the joint application of the United States,
Philip R. Sellinger, United States Attorney for the District of New Jersey (by Jason M. Richardson,
Assistant U.S. Attorney) and the defendant John Grier, through his attorneys Stuart Alterman, Esq.
and Stacy Biancamano, Esq.; the parties having met and determined that this matter may be treated
as a criminal case that does not require extensive discovery, but which nonetheless requires more
than seventy (70) days for defense counsel to diligently and effectively prepare for trial; and the
Court having accepted such schedule, and for good cause shown;
It is on this,25 day of April, 2023, ORDERED that:
I. The Government shall provide its pre-marked exhibits on or before May 1, 2023.
a. The authenticity and chain of custody of the Government’s pre-marked
exhibits shall be deemed to have been accepted unless an objection is asserted in accordance with
paragraph 1(c).
b. If the Government discloses the scientific analysis of an exhibit that it
proposes to introduce at trial and that analysis has been determined by an expert in the field of
science involved, the scientific analysis of the exhibit shall be deemed to have been accepted unless

an objection is asserted in the form set forth in paragraph 1(c).
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c. If the Defendant wishes to affirmatively contest the authenticity, chain of
custody, or scientific analysis of an exhibit, counsel for the Defendant shall file, on or before May
8, 2023, a notice that the authenticity, chain of custody, and/or scientific analysis of the exhibit
will be contested at trial together with a statement delineating why the authenticity, chain of
custody, and/or scientific analysis of the exhibit is being challenged and a certification that the
challenge is being made in good faith.

2. The Defendant shall provide its pre-marked exhibits on or before May 8, 2023.

a. The authenticity and chain of custody of the Defendant’s pre-marked
exhibits shall be deemed to have been accepted unless an objection is asserted in accordance with
paragraph 2(c).

b. If the Defendant discloses the scientific analysis of an exhibit that the
Defendant proposes to introduce at trial and that analysis has been determined by an expert in the
field of science involved, the scientific analysis of the exhibit shall be deemed to have been
accepted unless an objection is asserted in the form set forth in paragraph 2(c).

C. If the Government wishes to contest the authenticity, chain of custody, or
scientific analysis of an exhibit, counsel for the Government shall file, on or before May 15, 2023,
a notice that the authenticity, chain of custody, and/or scientific analysis of the exhibit will be
contested at trial together with a statement delineating why the authenticity, chain of custody,
and/or scientific analysis of the exhibit is being challenged and a certification that the challenge
was made in good faith.

3) The Government shall provide all material to be disclosed under Giglio v. United

States, 405 U.S. 150 (1972), and its progeny, on or before May 1, 2023 and shall, if it agrees to do

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so, provide any material to be provided under the Jencks Act, 18 U.S.C. § 3500, on or before the
same date.

4, The Defendant, if he agrees to do so, shall produce all “reverse Jencks” that is
required to be disclosed under Federal Rule of Criminal Procedure 26.2 on or before May 15,
2023.

5. If the Government intends to introduce any Rule 404(b) evidence, the Government
shall provide notice of this evidence in the form delineated in Federal Rule of Evidence
404(b)(2)(A) on or before May 8, 2023.

6. If the Defendant intends to offer any “reverse 404(b)” evidence, the Defendant shall
provide notice of this evidence in the form delineated in the Federal Rule of Evidence 404(b)(2)(A)
on or before May 8, 2023.

7. The parties shall file any in limine motions, addressed to the admissibility of
evidence, on or before May 8, 2023; responses to such motions may be filed on or before May 15,
2023; and oral argument on such motions shall be held on May 24, 2023 at 11:00. The Court shall
hold the final pretrial conference after the oral arguments.

8. The parties shall file any voir dire requests on or before May 5, 2023.

9. The Government shall file any requests to charge addressed to (a) preliminary
instructions to the jury, and (b) the elements of the offenses at issue, on or before May 5, 2023.

10. The Defendant shall file any requests to charge addressed to (a) preliminary
instructions to the jury, and (b) the elements of the offenses at issue, on or before May 19, 2023.

11. The parties shall file all other requests to charge on or before May 26, 2023.

12. Trial shall be held on June 5, 2023 at 9:30 a.m. with jury selection.

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Dated: April 17, 2023

Camden, New Jersey

5/ Daniel Holzapfel

STUART ALTERMAN, Esq.
STACY BIANCAMANO, Esq.
DANIEL HOLZAPFEL, Esq.
Attorneys for the Defendant

IT IS SO ORDERED

this 56 day of April 2023
Camden, New Jersey

ORDER

Form and entry consented to:

PHILIP R. SELLINGER
United States Attorney

Mhuba!—

JASON M. RICHARDSON
Assistant United States Attorney

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ENIOR UNITED STATES D ICKIUDGE
